       Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 1 of 31




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION
True the Vote, Jane Coln, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
Norma Mackey, Roy Nicholson, Mark               §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
                                                §   Cause No. 3:14-cv-00532-HTW-LRA
v.                                              §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
                                                §
       Defendants.                              §

                 SUMMARY JUDGMENT EXHIBITS – VOLUME 2

Exhibit          Description
3                Declaration of Julia Hoenig and Incident Reports
4                Declaration of Mike Rowley and Incident Reports
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 2 of 31




                                                                   EXHIBIT 3
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 3 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 4 of 31
Case
Case 3:14-cv-00532-NFA
     3:14-cv-00532-NFA Document
                       Document 83-2
                                25-3 Filed
                                     Filed 08/06/14
                                           07/17/14 Page
                                                    Page 5
                                                         4 of
                                                           of 31
                                                              31




                                                              EXHIBIT 3-A
Case
Case 3:14-cv-00532-NFA
     3:14-cv-00532-NFA Document
                       Document 83-2
                                25-3 Filed
                                     Filed 08/06/14
                                           07/17/14 Page
                                                    Page 6
                                                         5 of
                                                           of 31
                                                              31
Case
Case 3:14-cv-00532-NFA
     3:14-cv-00532-NFA Document
                       Document 83-2
                                25-3 Filed
                                     Filed 08/06/14
                                           07/17/14 Page
                                                    Page 7
                                                         6 of
                                                           of 31
                                                              31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 8 of 31




                                                              EXHIBIT 3-B
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 9 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 10 of 31




                                                              EXHIBIT 3-C
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 11 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 12 of 31




                                                              EXHIBIT 3-D
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 13 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 14 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 15 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 16 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 17 of 31




                                                                    EXHIBIT 3-E
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 18 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 19 of 31




                                                               EXHIBIT 3-F
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 20 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 21 of 31




                                                               EXHIBIT 3-G
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 22 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 23 of 31




                                                                EXHIBIT 3-H
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 24 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 25 of 31




                                                                EXHIBIT 4
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 26 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 27 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 28 of 31




                                                                EXHIBIT 4-A
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 29 of 31
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 30 of 31




                                                               EXHIBIT 4-B
Case 3:14-cv-00532-NFA Document 83-2 Filed 08/06/14 Page 31 of 31
